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                                          November 5, 2020

      VIA ECF
      Judge Wilhelmina M. Wright
      United States District Court
      316 N. Robert Street
       St. Paul, MN 55101

             RE: Supplemental Authority to Gisairo v. Lenovo (United States) Inc.
                 Court File Number: 19-cv-02727

      Dear Judge Wright:

             Plaintiff Gisairo submits Judge Tostrud’s recent decision in Barclay v ICON
      Health & Fitness, Inc., No. 19-CV-2970 (ECT/DTS), 2020 WL 6083704 (D. Minn. Oct.
      15, 2020) as supplemental authority supporting Plaintiff’s standing argument. In Barclay,
      Judge Tostrud held that a plaintiff had standing to bring claims regarding similar products
      that demonstrate similar alleged defects. Id. at *6.

                                                   Respectfully Submitted,
                                                   GUSTAFSON GLUEK PLLC




                                                   David A. Goodwin



      DAG/cmn
      cc:  All Counsel of Record (via ECF)
